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                                          UNITED STATES DISTRICT COURT
                                           DISTRICT OF MASSACHUSETTS



               UNITED STATES OF AMERICA                               Criminal No.: 17-CR-l0281-PBS


               V.


 ,             DALNOVIS DELAROSA ARIAS and
 hi , MINERVA RUIZ,
                                    Defendants.



V/? ^                   JOINT MOTION FOR RECONSIDERATION TO CONTINUE TRIAL
       -
           ^          The United States of America, by Assistant United States Attorneys Leah B. Foley and

       ^ Lauren Graber and with the assent of counsels for the defendants, hereby files this Motion for
     ^ ^ Reconsideration ofthe Motion to continue the trial in this matter [Dkt. No. 82], which is scheduled
     ^ ^to commence on November 13, 2018. On October 22, 2018, this Court denied the parties'
     ^ ^assented-to request to continue the trial in this matter.
      ^^ Asgroundsforits MotionforReconsideration,thegovernmentstatesthatcounsels forboth
      ^ --defendants are not available the week ofNovember 13, 2018. Counsel for Mr. Delarosa Arias is

       ^ Currently on trial in a murder case, which is expected to be ongoing the week of November 13,

               2018. Counsel for Ms. Ruiz has travel plans that make him unavailable beginning November 15,

               2018. The trial will take more than two days to complete, even if the Court sat for full days. In

               addition, AUSA Foley is scheduled to begin a trial onNovember 5,2018 [Dkt. No. 13-CR-10343-

               GAO]. Atthe pretrial conference held inthat case on October 23,2018, defense counsel informed
               the government that they are not stipulating to anything relating to the trial, and thus, there is a
               likely chance that thetrial will spill over into the week ofNovember 13.
                      Ms. Ruiz is currently on release pending trial. Mr. Delarosa Arias is detained, buthas an

               immigration detainer lodged against him and is facing deportation.
